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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TENNESSEE
                                 MEMPHIS DIVISION

JAMES E. SMITH AND ASTRID SMITH,
    Plaintiffs,

v.                                              Civil No. 2:09-cv-02315-STA-cgc

NATIONWIDE MUTUAL FIRE
INSURANCE COMPANY

        Defendant.


                                ORDER OF DISMISSAL


        The Court, having been notified by the parties by Joint Stipulation of Settlement

that the case has been fully settled and compromised and should be dismissed,

        It is hereby ORDERED that this case is dismissed. Each party will bear their own

discretionary costs.


                                         s/ S. Thomas Anderson
                                         S. THOMAS ANDERSON
                                         UNITED STATES DISTRICT JUDGE


APPROVED FOR ENTRY:

s/Jonathan E. Scharff
JONATHAN E. SCHARFF
Registration No. 016890
Attorney for Plaintiff

HARRIS SHELTON HANOVER WALSH, PLLC
One Commerce Square, Suite 2700
Memphis, TN 38103-2555
901-525-1455




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s/Gary A. Brewer
GARY A. BREWER
Registration No. 4678
Attorney for Nationwide Mutual Fire Insurance Company

BREWER, KRAUSE, BROOKS, CHASTAIN & BURROW, PLLC
P. O. Box 23890
Nashville, TN 37202-3890
(615) 256-8787


                            CERTIFICATE OF SERVICE

      I hereby certify that on this 15th day of July, 2009, a copy of the foregoing
proposed Order of Dismissal was submitted for approval via email to:

United States District Judge S. Thomas Anderson
ECF_Judge_Anderson@tnwd.uscourts.gov

with a copy via email to:

Jonathan E. Scharff, Esquire
Harris Shelton Hanover Walsh, PLLC
One Commerce Square, Suite 2700
Memphis, TN 38103-2555
jscharff@harrisshelton.com

                                              s/Gary A. Brewer
                                              GARY A. BREWER
                                              Registration No. 4678
                                              BREWER, KRAUSE, BROOKS,
                                              CHASTAIN & BURROW, PLLC
                                              P. O. Box 23890
                                              Nashville, TN 37202-3890
                                              (615) 256-8787
                                              gbrewer@bkblaw.com


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